      Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 1 of 20   7196
     O7F3MENF

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                 v.                                23 Cr. 490 (SHS)

5    ROBERT MENENDEZ,
     WAEL HANA, a/k/a "Will Hana,"
6    and FRED DAIBES,

7                      Defendants.
                                                    Trial
8    ------------------------------x

9                                                   New York, N.Y.
                                                    July 16, 2024
10                                                  9:30 a.m.

11

12   Before:

13
                               HON. SIDNEY H. STEIN,
14
                                                    District Judge
15                                                  -and a Jury-

16                                 APPEARANCES

17   DAMIAN WILLIAMS
          United States Attorney for the
18        Southern District of New York
     BY: DANIEL C. RICHENTHAL
19        ELI J. MARK
          CATHERINE E. GHOSH
20        Assistant United States Attorneys

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      Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 2 of 20   7197
     O7F3MENF

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2                              APPEARANCES CONTINUED

3
     PAUL HASTINGS LLP
4         Attorneys for Defendant Menendez
     BY: ADAM FEE
5         AVI WEITZMAN
          RITA FISHMAN
6

7    GIBBONS, P.C.
          Attorneys for Defendant Hana
8    BY: LAWRENCE S. LUSTBERG
          ANNE M. COLLART
9         RICARDO SOLANO, Jr.

10

11   CESAR DE CASTRO
     SETH H. AGATA
12   SHANNON M. McMANUS
          Attorneys for Defendant Daibes
13

14
     Also Present:
15   Bachar Alhalabi, Interpreter (Arabic)
     Rodina Mikhail, Interpreter (Arabic)
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      Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 3 of 20       7198
     O7F3MENF                     Verdict

1               (Trial resumed; jury not present)

2               THE COURT:     Bring the jury in.

3               (Jury present.    Time noted 9:50 a.m.)

4               THE COURT:     Good morning, ladies and gentlemen.

5    Welcome.   I now see you're here.        You may continue with your

6    deliberations.     We're here.

7               (Jury continues deliberations.        Time noted 9:51 a.m.)

8               (Recess pending verdict)

9               (At 12:33 p.m. a verdict was reached)

10              THE COURT:     We have a note from the jury.        It's Court

11   Exhibit No. 8 at 12:33 p.m.       "We have a verdict."

12              Bring the jury in.     I want no exclamations or

13   outbursts of any sort.      The quiet should reflect the solemnity

14   of the occasion.

15              (Jury present.    Time noted 12:51 p.m.)

16              THE COURT:     You may be seated in the courtroom.

17              THE DEPUTY CLERK:     Ladies and gentlemen of the jury,

18   please answer to your presence when your number is called.

19              (Roll called; each juror answered in the affirmative)

20              THE DEPUTY CLERK:     All jurors are present.

21              THE COURT:     Foreperson, has the jury reached a

22   verdict?

23              THE FOREPERSON:    We have, your Honor.

24              THE COURT:     Please hand the verdict to my deputy.          I

25   will inspect it for regularity.


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      Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 4 of 20   7199
     O7F3MENF                     Verdict

1              I'm returning the verdict sheet to my deputy to return

2    it to the foreperson.

3              Madam Foreperson, if you would please rise.

4              THE DEPUTY CLERK:      In the matter of United States of

5    America v. Robert Menendez, Wael Hana, and Fred Daibes, 23 Cr.

6    490.

7              As to Count One, conspiracy to commit bribery.

8              How do you find the defendant Robert Menendez, guilty

9    or not guilty?

10             THE FOREPERSON:     Guilty.

11             THE DEPUTY CLERK:      How do you find defendant Wael

12   Hana, guilty or not guilty?

13             THE FOREPERSON:     Guilty.

14             THE DEPUTY CLERK:      How do you find the defendant Fred

15   Daibes, guilty or not guilty?

16             THE FOREPERSON:     Guilty.

17             THE DEPUTY CLERK:      If you have found defendant Fred

18   Daibes guilty of Count One, indicate whether he was released on

19   an appearance bond at the time of the offense.

20             THE FOREPERSON:     Released on bond.

21             THE DEPUTY CLERK:      As to Count Two, conspiracy to

22   commit honest services wire fraud.

23             As to Robert Menendez, guilty or not guilty?

24             THE FOREPERSON:     Guilty.

25             THE DEPUTY CLERK:      As to Wael Hana, guilty or not


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      Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 5 of 20   7200
     O7F3MENF                     Verdict

1    guilty?

2              THE FOREPERSON:     Guilty.

3              THE DEPUTY CLERK:      As to Fred Daibes, guilty or not

4    guilty?

5              THE FOREPERSON:     Guilty.

6              THE DEPUTY CLERK:      Please indicate whether Fred Daibes

7    was released on an appearance bond at the time of the offense.

8              THE FOREPERSON:     Released on bond.

9              THE DEPUTY CLERK:      As to Count Three, conspiracy to

10   commit extortion under color of official right.

11             How do you find defendant Robert Menendez, guilty or

12   not guilty?

13             THE FOREPERSON:     Guilty.

14             THE DEPUTY CLERK:      As to Count Four, conspiracy to

15   commit obstruction of justice.

16             How do you find defendant Robert Menendez, guilty or

17   not guilty?

18             THE FOREPERSON:     Guilty.

19             THE DEPUTY CLERK:      How do you find defendant Fred

20   Daibes, guilty or not guilty?

21             THE FOREPERSON:     Guilty.

22             THE DEPUTY CLERK:      As to Count Five, bribery --

23   actions to benefit Wael Hana and Egypt.

24             How do you find defendant Robert Menendez, guilty or

25   not guilty?


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                                (212) 805-0300
      Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 6 of 20   7201
     O7F3MENF                     Verdict

1              THE FOREPERSON:     Guilty.

2              THE DEPUTY CLERK:      As to Count Six, bribery -- actions

3    to benefit Wael Hana and Egypt.

4              As to Wael Hana, guilty or not guilty?

5              THE FOREPERSON:     Guilty.

6              THE DEPUTY CLERK:      As to Fred Daibes, guilty or not

7    guilty?

8              THE FOREPERSON:     Guilty.

9              THE DEPUTY CLERK:      Have you found that Fred Daibes was

10   released on an appearance bond or not released on a bond?

11             THE FOREPERSON:     Released on bond.

12             THE DEPUTY CLERK:      As to Count Seven, honest services

13   wire fraud -- actions to benefit Wael Hana and Egypt.

14             As to defendant Robert Menendez, guilty or not guilty?

15             THE FOREPERSON:     Guilty.

16             THE DEPUTY CLERK:      As to defendant Wael Hana, guilty

17   or not guilty?

18             THE FOREPERSON:     Guilty.

19             THE DEPUTY CLERK:      As to defendant Fred Daibes, guilty

20   or not guilty?

21             THE FOREPERSON:     Guilty.

22             THE DEPUTY CLERK:      Indicate whether Fred Daibes was

23   released on an appearance bond.

24             THE FOREPERSON:     Released on bond.

25             THE DEPUTY CLERK:      As to Count Eight, extortion under


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                                (212) 805-0300
      Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 7 of 20   7202
     O7F3MENF                     Verdict

1    color of official right -- actions to benefit Wael Hana and

2    Egypt.

3              As to Robert Menendez, how do you find the defendant,

4    guilty or not guilty?

5              THE FOREPERSON:     Guilty.

6              THE DEPUTY CLERK:      As to Count Nine, honest services

7    wire fraud -- actions to benefit Jose Uribe and Uribe's

8    associates.

9              How do you find defendant Robert Menendez, guilty or

10   not guilty?

11             THE FOREPERSON:     Guilty.

12             THE DEPUTY CLERK:      How do you find defendant Wael

13   Hana, guilty or not guilty?

14             THE FOREPERSON:     Guilty.

15             THE DEPUTY CLERK:      As to Count Ten, extortion under

16   color of official right -- actions to benefit Jose Uribe and

17   Uribe's associates.

18             How do you find defendant Robert Menendez, guilty or

19   not guilty?

20             THE FOREPERSON:     Guilty.

21             THE DEPUTY CLERK:      As to Count Eleven, bribery --

22   actions to benefit Fred Daibes and Qatar.

23             How do you find defendant Robert Menendez, guilty or

24   not guilty?

25             THE FOREPERSON:     Guilty.


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
      Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 8 of 20   7203
     O7F3MENF                     Verdict

1              THE DEPUTY CLERK:      As to Count Twelve, bribery --

2    actions to benefit Fred Daibes and Qatar.

3              How do you find the defendant Fred Daibes, guilty or

4    not guilty?

5              THE FOREPERSON:     Guilty.

6              THE DEPUTY CLERK:      Indicate whether Daibes was

7    released on an appearance bond at the time of the offense or

8    not released on bond.

9              THE FOREPERSON:     Released on bond.

10             THE DEPUTY CLERK:      As to Count Thirteen, honest

11   services wire fraud -- actions to benefit Fred Daibes and

12   Qatar.

13             How do you find defendant Robert Menendez, guilty or

14   not guilty?

15             THE FOREPERSON:     Guilty.

16             THE DEPUTY CLERK:      How do you find defendant Fred

17   Daibes, guilty or not guilty?

18             THE FOREPERSON:     Guilty.

19             THE DEPUTY CLERK:      Indicate whether Fred Daibes was

20   released on an appearance bond at the time of the offense or

21   not released on bond.

22             THE FOREPERSON:     Released on bond.

23             THE DEPUTY CLERK:      Count Fourteen, actions to benefit

24   Fred Daibes and Qatar.

25             How do you find defendant Robert Menendez, guilty or


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
      Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 9 of 20   7204
     O7F3MENF                     Verdict

1    not guilty?

2              THE FOREPERSON:     Guilty.

3              THE DEPUTY CLERK:      As to Count Fifteen, conspiracy for

4    a public official to act as a foreign agent.

5              How do you find the defendant Robert Menendez, guilty

6    or not guilty?

7              THE FOREPERSON:     Guilty.

8              THE DEPUTY CLERK:      How do you find defendant Wael

9    Hana, guilty or not guilty?

10             THE FOREPERSON:     Guilty.

11             THE DEPUTY CLERK:      As to Count Sixteen, public

12   official acting as a foreign agent.

13             How do you find defendant Robert Menendez, guilty or

14   not guilty?

15             THE FOREPERSON:     Guilty.

16             THE DEPUTY CLERK:      As to Count Seventeen, conspiracy

17   to commit obstruction of justice.

18             How do you find defendant Robert Menendez, guilty or

19   not guilty?

20             THE FOREPERSON:     Guilty.

21             THE DEPUTY CLERK:      As to Count Eighteen, obstruction

22   of justice.

23             How do you find defendant Robert Menendez, guilty or

24   not guilty?

25             THE FOREPERSON:     Guilty.


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
     Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 10 of 20     7205
     O7F3MENF                     Verdict

1               THE COURT:    Please be seated, Foreperson, and hand the

2    verdict sheet to my deputy.

3               THE DEPUTY CLERK:    Ladies and gentlemen of the jury,

4    please listen to your verdict as it stands recorded.

5               United States of America v. Robert Menendez, Wael

6    Hana, and Fred Daibes.      23 Cr. 490.

7               As to Count One, conspiracy to commit bribery.            You

8    find defendant Robert Menendez guilty.         You find defendant Wael

9    Hana guilty.    You find defendant Fred Daibes guilty.           You found

10   that Fred Daibes was released on bond at the time of the

11   offense.

12              As to Count Two, conspiracy to commit honest services

13   wire fraud.    You found the defendant Robert Menendez guilty.

14   You found the defendant Wael Hana guilty.          You found the

15   defendant Fred Daibes guilty.      You found that Fred Daibes was

16   released on an appearance bond at the time of the offense.

17              As to Count Three, conspiracy to commit extortion

18   under color of official right.      You found defendant Robert

19   Menendez guilty.

20              As to Count Four, conspiracy to commit obstruction of

21   justice.   As to Robert Menendez, you found the defendant

22   guilty.    As to Fred Daibes, you found him guilty.

23              As to Count Five, bribery to benefit Wael Hana and

24   Egypt.    You found defendant Robert Menendez guilty.

25              As to Count Six, bribery -- actions to benefit Wael


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     Case 1:23-cr-00490-SHS     Document 587   Filed 08/09/24   Page 11 of 20     7206
     O7F3MENF                       Verdict

1    Hana and Egypt.    You found defendant Wael Hana guilty.              You

2    found defendant Fred Daibes guilty.          You found Fred Daibes

3    guilty of Count Six at the time of the offense released on

4    bond.

5              As to Count Seven, honest services wire fraud --

6    actions to benefit Wael Hana and Egypt.           You found defendant

7    Robert Menendez guilty.        You found defendant Wael Hana guilty.

8    You found defendant Fred Daibes guilty.           You found Fred Daibes

9    guilty of Count Seven that he was released on an appearance

10   bond at the time of the offense.

11             As to Count Eight, extortion under color of official

12   right -- actions to benefit Wael Hana and Egypt.              You found

13   defendant Robert Menendez guilty.

14             As to Count Nine, honest services wire fraud --

15   actions to benefit Jose Uribe and Uribe's associates.               You

16   found defendant Robert Menendez guilty.           You found defendant

17   Wael Hana guilty.

18             As to Count Ten, extortion under color of official

19   right -- actions to benefit Jose Uribe and Uribe's associates,

20   you found defendant Robert Menendez guilty.

21             As to Count Eleven, bribery -- actions to benefit Fred

22   Daibes and Qatar.        You found defendant Robert Menendez guilty.

23             As to Count Twelve, bribery -- actions to benefit Fred

24   Daibes and Qatar.        You found defendant Fred Daibes guilty.            You

25   found Fred Daibes guilty that he was released on an appearance


                      SOUTHERN DISTRICT REPORTERS, P.C.
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     Case 1:23-cr-00490-SHS   Document 587    Filed 08/09/24   Page 12 of 20    7207
     O7F3MENF                     Verdict

1    bond at the time of the offense.

2              As to Count Thirteen, honest services wire fraud --

3    actions to benefit Fred Daibes and Qatar.           You found defendant

4    Robert Menendez guilty.      You found defendant Fred Daibes

5    guilty.   As to defendant Fred Daibes, you found that he was

6    released on an appearance bond at the time of the offense.

7              Count Fourteen, extortion under color of official

8    right -- actions to benefit Fred Daibes and Qatar.              As to

9    Robert Menendez, you found the defendant guilty.

10             As to Count Fifteen, conspiracy for a public official

11   to act as a foreign agent.        You found defendant Robert Menendez

12   guilty.   You found defendant Wael Hana guilty.

13             As to Count Sixteen, public official acting as a

14   foreign agent.    You found defendant Robert Menendez guilty.

15             As to Count Seventeen, conspiracy to commit

16   obstruction of justice.      You found defendant Robert Menendez

17   guilty.

18             As to Count Eighteen, obstruction of justice.              You

19   found defendant Robert Menendez guilty.

20             THE COURT:     Deputy, please poll this jury.

21             THE DEPUTY CLERK:       Juror No. 1, is that your verdict?

22             JUROR NO. 1:     Yes, it is.

23             THE DEPUTY CLERK:       Juror No. 2, is that your verdict?

24             JUROR NO. 2:     Yes.

25             THE DEPUTY CLERK:       Juror No. 3, is that your verdict?


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                                (212) 805-0300
     Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 13 of 20     7208
     O7F3MENF                     Verdict

1              JUROR NO. 3:     Yes.

2              THE DEPUTY CLERK:       Juror No. 4, is that your verdict?

3              JUROR NO. 4:     Yes.

4              THE DEPUTY CLERK:       Juror No. 5, is that your verdict?

5              JUROR NO. 5:     Yes.

6              THE DEPUTY CLERK:       Juror No. 6, is that your verdict?

7              JUROR NO. 6:     Yes.

8              THE DEPUTY CLERK:       Juror No. 7, is that your verdict?

9              JUROR NO. 7:     Yes.

10             THE DEPUTY CLERK:       Juror No. 8, is that your verdict?

11             JUROR NO. 8:     Yes.

12             THE DEPUTY CLERK:        Juror No. 9, is that your verdict?

13             JUROR NO. 9:     Yes.

14             THE DEPUTY CLERK:       Juror No. 10, is that your verdict?

15             JUROR NO. 10:     Yes.

16             THE DEPUTY CLERK:       Juror No. 11, is that your verdict?

17             JUROR NO. 11:     Yes.

18             THE DEPUTY CLERK:       Juror No. 12, is that your verdict?

19             JUROR NO. 12:     Yes.

20             THE DEPUTY CLERK:       Jury polled, your Honor.       Verdict

21   unanimous.

22             THE COURT:     I'm handing you the verdict sheet and I'm

23   directing you to file and record the verdict.

24             Ladies and gentlemen of the jury, your duty now is

25   completed.   You've been here every day the court has been open


                      SOUTHERN DISTRICT REPORTERS, P.C.
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     Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24    Page 14 of 20   7209
     O7F3MENF

1    since May 13.    You've been extraordinary in fulfilling your

2    obligations.    As I've said on more than one occasion, you were

3    here on time, you listened to the testimony, some of you took

4    notes.   You, from my standpoint, observing you, you were

5    following the testimony assiduously, and I know you've taken

6    your obligations very seriously.

7               I appreciate your having been available and willing to

8    undertake jury duty.     And it turned out to be an extensive

9    period of time, longer than I had projected.             I think

10   originally we were talking about six to seven weeks, and it's

11   been nine weeks.

12              I very much appreciate your service, as I know my

13   staff does, and as I know all of the attorneys here do and the

14   parties as well.    Again, everyone appreciates your service to

15   the court.

16              Ladies and gentlemen, you are discharged with the

17   appreciation of the Court, my staff, the attorneys, and the

18   parties.   You are excused.

19              (Jury dismissed.    Time noted 1:06 p.m.)

20              THE COURT:    I'm setting the sentencing date at this

21   time as October 29, 2 p.m. for Mr. Hana, 2:45 p.m. for

22   Mr. Daibes, 3:30 p.m. for Mr. Menendez.

23              Are there any motions that the parties wish to make at

24   this time or any applications?

25              MR. RICHENTHAL:    Your Honor, we have no proposed


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     Case 1:23-cr-00490-SHS   Document 587    Filed 08/09/24   Page 15 of 20     7210
     O7F3MENF

1    change in bail conditions for Mr. Menendez and for Mr. Daibes.

2               With respect to Mr. Hana, we propose that the current

3    bond be additionally secured, and the parties had a chance to

4    confer and I can list out the additional security.              That part

5    is on consent.

6               The part that isn't is Mr. Hana, as I think the Court

7    is aware, is currently released on GPS monitoring with a curfew

8    and with various places and times he's available to be outside

9    of his home.

10              At this time, in light of the jury's verdict, we move

11   that he be transferred from home detention with a curfew to

12   home incarceration, that is, not permitted to leave his

13   residence except for specified purposes and with prior consent

14   from pretrial services.

15              THE COURT:    So the request of the government is to

16   change from home detention to home incarceration.

17              MR. RICHENTHAL:    That is no more curfew, that's

18   correct.   He must remain at home except for certain

19   circumstances, permitted to go to court, permitted to meet with

20   counsel, permitted to have necessary medical visits, and

21   effectively nothing else.

22              THE COURT:    He's on GPS monitoring you say.

23   Mr. Richenthal, he has GPS monitoring?

24              MR. RICHENTHAL:    He does, your Honor.

25              THE COURT:    Mr. Lustberg.


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     Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 16 of 20    7211
     O7F3MENF

1               MR. LUSTBERG:    Thank you, your Honor.        We oppose, we

2    did agree with the government with the posting of additional

3    security.

4               THE COURT:    I haven't heard that.      What's the

5    additional security?

6               MR. RICHENTHAL:    The additional security on the

7    bond -- this part is on consent.        I think there may be a

8    dispute about home incarceration.

9               The additional security would be, beyond the security

10   already, that Mr. Hana would post or provide to his attorney to

11   put in escrow approximately $237,000 worth of 1-kilogram gold

12   bars.   As well as all or substantially all of his watch

13   collection, specifically 12 Rolexes, one Chronoswiss, and one

14   Concord.

15              Specifically, your Honor, and this may be an easier

16   way to do it, it is the items listed in Government

17   Exhibit 3K-2.    That's the additional security.          There is

18   already substantial security on the bond.

19              THE COURT:    Let me hear from Mr. Lustberg.

20              MR. LUSTBERG:    Thank you, your Honor.        So with respect

21   to that additional security, we discussed it with the

22   government and do not oppose that aspect of the application.

23              I should note, your Honor, just to remind the Court,

24   Mr. Hana was, when this matter was first indicted, Mr. Hana was

25   in Egypt.   He voluntarily, as it were, came to the United


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
     Case 1:23-cr-00490-SHS   Document 587   Filed 08/09/24   Page 17 of 20       7212
     O7F3MENF

1    States to face these charges.

2              Since that time, he's been, as the Court noted, under

3    a house arrest type situation with GPS monitoring subject to

4    various curfews.    He has consistently --

5              THE COURT:     What is the curfew imposed?

6              MR. LUSTBERG:     The current curfew I believe is from 8

7    in the morning until 9 in the evening.         It was originally 8 to

8    8 and on application this Court allowed him to stay out an

9    additional hour until 9.      And that was also subject to being

10   relaxed at the discretion --

11             THE COURT:     So the curfew is the reverse, that is

12   9 p.m. to 8 a.m.

13             MR. LUSTBERG:     No.   I'm sorry, correct.

14             THE COURT:     Go ahead.

15             MR. LUSTBERG:     He has been in absolute 100 percent

16   perfect compliance with those conditions of release.             As the

17   Court is very well aware, he's appeared every single day for

18   trial.

19             THE COURT:     This is what I'm going to do.         He's under

20   GPS monitoring.    I take it, Mr. Lustberg, either you or

21   pretrial services have his passports and travel documents?

22             MR. LUSTBERG:     Pretrial services has those, your

23   Honor.

24             THE COURT:     For both Egypt and the United States?           I

25   think he's a citizen of both.


                      SOUTHERN DISTRICT REPORTERS, P.C.
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     Case 1:23-cr-00490-SHS    Document 587   Filed 08/09/24   Page 18 of 20    7213
     O7F3MENF

1              MR. LUSTBERG:      He does not actually have travel

2    documents for Egypt.      And so there are none anywhere.          But,

3    yes, his U.S. travel documents are in the possession of

4    pretrial services.

5              THE COURT:      I'm going to impose all of the conditions

6    that have been imposed up to now.        We'll keep the curfew at

7    9 p.m. to 8 a.m.    I'm going to keep it at home detention with

8    the increased security to be those items in Government

9    Exhibit 3K-2 to be posted within 72 hours of today.              Otherwise

10   it's home detention.      I think that's appropriate.

11             Anything else?

12             MR. RICHENTHAL:      Can I ask the Court to consider one

13   modification to the curfew?

14             THE COURT:      Go ahead.

15             MR. RICHENTHAL:      Right now as I understand it, it is

16   seven days a week.       It is substantially more difficult to

17   enforce a curfew on a weekend, just given personnel issues.

18             Would the Court consider having home incarceration

19   over the weekend?

20             THE COURT:      I think that makes sense.        I've had that

21   issue before with the monitoring personnel.

22             Mr. Lustberg, that's my inclination.            In other words,

23   have him stay at home on the weekends.

24             MR. LUSTBERG:      Other than the specified reasons, such

25   as, for example, if he has to -- and I would ask for one other


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
     Case 1:23-cr-00490-SHS     Document 587      Filed 08/09/24   Page 19 of 20   7214
     O7F3MENF

1    one -- he be permitted to attend any religious observations on

2    weekends, which I think is typically --

3              THE COURT:      That's fair.       But I want it to be clear.

4    On weekends, it's going to be home incarceration.                 With the

5    terms of home incarceration, there are exceptions even within

6    home incarceration.       So whatever those exceptions are.              I

7    certainly think they include religious observations.

8              MR. LUSTBERG:         Thank you.

9              THE COURT:      So again, just to be clear, home detention

10   except on weekends where it will be home incarceration.                   During

11   the weekday, the curfew is 9 p.m. to 8 a.m. and throughout he's

12   to be on GPS monitoring.         And the increase in security is those

13   physical items set forth in Government Exhibit 3K-2.

14             Anything else?

15             MR. RICHENTHAL:        No, your Honor.

16             MR. FEE:       Your Honor, we're going to reserve under

17   Rules 29 and 33.     We'll make post-verdict filings in writing in

18   the time period set forth in the rules.

19             THE COURT:      Set forth in the rules?

20             MR. FEE:       Yes.

21             THE COURT:      Fine.    I understand that.

22             MR. LUSTBERG:         I was going to request, given the

23   length of the trial, the complication of the record, the rules

24   require filings under Rule 29 and 33 within 14 days.                  I was

25   going to request we be --


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     Case 1:23-cr-00490-SHS   Document 587    Filed 08/09/24   Page 20 of 20     7215
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1              THE COURT:     Is there any objection to extending it for

2    30 days, that is until August 19?

3              Any objection?

4              MR. RICHENTHAL:     No, your Honor.

5              THE COURT:     But I want to be clear about this.           The

6    14-day limit for post-judgment motions is extended until

7    August 19.

8              Anything else?

9              MR. RICHENTHAL:     Not from the government.

10             THE COURT:     Thank you.     I thank everybody.       It was

11   very well tried.    I know all of the parties, all of the

12   attorneys devoted a great deal of time and effort to this.

13   From the standpoint of the Court, it was a well-tried case all

14   around.   Thank you.

15             (Adjourned)

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